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                           Exhibit G
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                                                                 Dynamic Risi<

                                       Final Report




                    Alternatives Analysis for the
                           Straits Pipeline


                                               October 26, 2017




                                                Prepared for
                                                State of Michigan
                                                Prepared by
                                                Dynamic Risk Assessment Systems, Inc.
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Dynamic Risk                                                                                Dynamic Risk
1110, 333-11 Avenue SW                                                      Waterway Plaza Two, Suite 250
Calgary, Alberta, Canada T2R 1 L9                                            10001 Woodloch Forest Drive
Phone: (403) 547-8638                                                           The Woodlands, TX 77380
                                               www.dynamicrisk.net                 Phone: (832) 482-0606
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